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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

CONFIGAIR LLC,                                       )
                                                     )       LEAD DOCKET NO.
        Plaintiff/Counterclaim Defendant,            )       3:17-CV-02026-JBA
                                                     )       U.S.D.C./NEW HAVEN
        v.                                           )
                                                     )       Judge Janet Bond Arterton
HENRY KURZ,                                          )
                                                     )
        Defendant/Counterclaimant.                   )



              DECLARATION OF REBECCA A. BRAZZANO IN SUPPORT OF
                             MOTION TO COMPEL

        Rebecca Brazzano, pursuant to 28 U.S.C. Section 1746, declares as follows:

        1.      I am an attorney for ConfigAir LLC (“ConfigAir”), Daniel Naus, Nizwer Husain

and Dung Nguyen in the above-captioned case.

        2.      Attached hereto as Exhibit A is a true and correct copy of ConfigAir’s First Set of

Interrogatories to Defendant Henry Kurz (“Kurz”), dated November 2, 2018.

        3.      Attached hereto as Exhibit B is a true and correct copy of ConfigAir’s First Set of

Document Requests to Kurz, dated November 2, 2018.

        4.      Attached hereto as Exhibit C is a true and correct copy of Kurz’s Objections to

ConfigAir’s First Set of Interrogatories, dated November 30, 2018.

        5.      Attached hereto as Exhibit D is a true and correct copy of Kurz’s Objections and

Responses to ConfigAir’s First Set of Document Requests, dated November 30, 2018. Kurz did

not produce any documents when he served his written objections and responses to the Document

Requests.
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        6.      Attached hereto as Exhibit E is a true and correct copy of a letter dated December

9, 2018 that I sent to Kurz’s counsel identifying numerous deficiencies in Kurz’s written

responses to the Interrogatories and Document Requests. In that letter, I demanded that Kurz

provide full and complete answers to the Interrogatories and produce responsive documents by

December 13, 2018.

        7.      Kurz did not respond to the letter and did not provide answers to the

Interrogatories or produce any documents by December 13, 2018.

        8.      On December 14, 2018, I proposed a telephone conference to meet and confer

regarding the discovery deficiencies identified in the letter. Counsel for both parties participated

in a telephone conference that afternoon. During this meet and confer and in Kurz’s written

objections, Kurz and his counsel have claimed that Kurz was unable to respond to Interrogatories

or Document Requests relating to the software that is at the center of this lawsuit, asserting that

ConfigAir has not sufficiently defined the software at issue. As the Court may recall, Kurz raised

this as an excuse earlier in the case, and ConfigAir was directed, and did, file its Second

Amended Complaint to provide a comprehensive definition of the software at issue in this matter.

        9.      Further, during the meet and confer, Kurz’s counsel stated that she could not

provide answers to the Interrogatories because she had not yet received (and thus had not

reviewed) all of the responsive documents from her client.

        10.     Kurz’s counsel also stated that ConfigAir’s request for all contracts that Kurz has

entered into with any person or company from 2011 to the present in Document Request No. 2

and its request for all contracts that HKC has entered into with any person or company from

October 2017 to the present in Document Request No. 3 would include Kurz’s contracts for utility

services, highlighting the complete lack of a good faith response.



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          11.   Also during that call, Kurz’s counsel offered that Kurz is having “server” issues,

and thus does not have “access” to documents that may be responsive to ConfigAir’s written

demands. Kurz’s claims that he now does not have access to documents only begs the spoliation

question.

          12.   When it became clear that the parties would be unable to resolve the discovery

issues during the December 14, 2018 telephone conference, I requested that Kurz’s counsel

respond in writing to the December 9, 2018 deficiency letter. Kurz’s counsel agreed to do so. As

of this submission, Kurz has still failed to respond.

          13.   On December 17, 2018 Kurz produced a limited document production, 657 pages

of documents, presumably withholding responsive documents on the improper basis of the

objections he served on November 30, 2018. Further, I am informed by Kurz’s counsel that Kurz

will continue to produce documents in the future, but without any definitive time period. Equally,

I am informed by Kurz’s counsel that Kurz will at some point answer the interrogatories, but only

after he is done producing documents, again, with no definitive time range.

          14.   To date, Kurz has not answered a single Interrogatory, has not withdrawn any of

his objections to the Document Requests, and has not responded to the December 9 deficiency

letter.

          15.   I have conferred with opposing counsel in an effort in good faith to resolve the

issues listed above and raised by this motion, but the parties have been unable to reach an

agreement.




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Dated: December 20, 2018                    Respectfully submitted,


                                            /s/ Rebecca A. Brazzano
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on the 20th day of December, 2018, a true copy of the foregoing

DECLARATION OF REBECCA A. BRAZZANO IN SUPPORT OF MOTION TO COMPEL

was filed electronically. Notice of this filing will be sent by e-mail to all parties by operation of

the Court’s electronic filing system or by mail to anyone unable to accept electronic filing as

indicated on the Notice of Electronic Filing. Parties may access this filing through the Court’s

CM/ECF System.


                                              /s/ Rebecca A. Brazzano
                                              Rebecca A. Brazzano




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